Case 1:09-cv-00446-LO-TCB Document 31 Filed 03/16/10 Page 1 of 1 PageID# 130




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division



SANDRA M. PORTER


               Plaintiff,


v.                                                   CASE l:09-cv-446-LO-TCB


ELK REMODELING, INC. and
TIMOTHY M. SHELLNUTT and
CLAUDIA SHELLNUTT


      Defendants



                                             ORDER


               It appearing that the defendants Timothy M. Shellnutt and Claudia Shellnutt have


filed petitions in bankruptcy, it is accordingly


               ORDERED that this action is stayed as to those defendants pending the resolution


of the said bankruptcy proceedings.   The case shall proceed as to ELK Remodeling, Inc.




Alexandria, Virginia
March 16,2010



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                                                       Liam O'Grady           c
                                                       United States District Ji
